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Mayor de Blasio And Commissioner Ponte
Announce Punitive Segregation Reduced
By Two-Thirds

April 21, 2016

Rehabilitative discipline and safe alternatives to managing behavior credited for
historically low rates of punitive segregation in New York City

NEW YORK—Mayor de Blasio and Commissioner of the Department of Correction Joe Ponte
today announced the city has reduced punitive segregation by two-thirds in two years. Since
Commissioner Ponte joined the Department of Correction in April 2014, he has reduced the
average daily population of inmates serving in punitive segregation from 563 in 2014 to under
200 today by creating safe alternatives for managing behavior. As of April 1, there were 167
inmates in punitive segregation. At the same time, serious uses of force have declined 41
percent and serious inmate assaults on staff have declined 28 percent this Fiscal Year to date
compared to Fiscal Year 2015.

"Today's numbers show that we are charting a new path toward rehabilitation and safety. For
far too long, punitive segregation was used as a convenient discipline rather than a last resort.
Research suggests prolonged isolation can cause lasting harm — and that rehabilitative
discipline can bring about better outcomes. Today's numbers once again makes clear:
Commissioner Ponte is leading the nation in punitive segregation reform,” said Mayor de
Blasio.

"In 2014, when we made a commitment to end the overuse of punitive segregation, we noted
that developing safe alternatives had to be part of the plan," said Commissioner Ponte. "I am
proud of the safe and humane systems we have put into place for managing the behavior of
individuals in our custody, especially for adolescents, those with mental illness and persistently
violent inmates. Our correction officers have shown an unwavering commitment to learning
these new methods and keeping our inmates safe, and we are deeply grateful for their hard
work and dedication."

As of April 1, only 1.7 percent of the City's jail population (9,821 inmates) are in punitive
segregation compared to 5 percent two years ago when Commissioner Ponte assumed his
role.

The following reforms under Commissioner Ponte have contributed to the reduction in
punitive segregation:

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* Ended punitive segregation for 16 and 17-year-olds and created therapeutically
oriented, non-punitive alternative housing.

* Ending punitive segregation for 18 to 21-year-olds this June and creating alternatives
for these young adult inmates.

* Limited punitive segregation stays to 30 continuous days, limited total days in
segregation to 60 days in any single six-month period, in most cases.

« Ended punitive segregation for low-level infractions.

¢ Eliminated all time owed. Time owed was punitive segregation time that an inmate
accrued during a previous incarceration.

* Added less restrictive segregation for individuals who have committed non-violent
infractions where inmates have up to seven hours out of their cells.

* Created Enhanced Supervision Housing, a non-punitive, rehabilitative housing for
persistently violent inmates.

* Expanded Clinical Alternative to Punitive Segregation housing which provides mental
health treatment for seriously mentally ill inmates who have infracted.

Ponte credited the City's committed correctional officers and the support of the Board of
Correction, the Department of Correction's oversight body, for helping implement the reforms,
which are creating a culture of safety and building meaningful, lasting change in the
department.

Ponte's reforms at DOC are considered innovative in the national correction field, and New
York City is one of only a few American cities sweeping reforms to the use of punitive
segregation for young adults up to age 21. There is a growing nation-wide consensus that
punitive segregation should be prohibited for young offenders: 20 states and the District of
Columbia prohibit the use of punitive solitary confinement in juvenile facilities by law or
practice. New York City has taken such measures a step further, extending the focus beyond
adolescent facilities by planning to ban solitary confinement for inmates up to the age of 21 on
Rikers Island. Further, reforms to create time limits on punitive segregation — prohibiting
punitive segregation for more than 30 days and limiting punitive segregation to no more than
60 days total in a six month period — put the City ahead of the American Bar Association's
recommended standards for the practice. In January 2016, President Obama also announced
an end to solitary confinement for juveniles and for low-level infractions in federal prisons.

The DOC has gained national recognition for its ground-breaking work reducing punitive
segregation. In late March 2015, the Department was chosen to join the Safe Alternatives to
Segregation Initiative of the prestigious Vera Institute, and is now working with the Institute to
develop and implement additional alternative policies and programs.

Average Daily Population of inmates in punitive segregation in New York City:

2009 — 671
2010 — 700
2011 — 825

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2012 — 877
2013 — 813
2014 ~— 563
2015 — 225

"Reducing punitive segregation by two-thirds in two years is an important step forward," said
Elizabeth Glazer, Director of the Mayor's Office of Criminal Justice. "Expanding clinical
alternatives to solitary confinement for individuals with behavioral health needs and ending
punitive segregation for young people move us closer toward dismantling a culture of violence
on Rikers Island and improving conditions of confinement so that people who leave City jails
return to their neighborhoods and contribute to their success."

"The effort to reduce the use of punitive segregation in the City of New York 's Correction
system is great news. New York should lead the way in this effort. The Mayor should be
applauded for this innovation as well as Commissioner Ponte. The rest of the state should
study this effort and adapt this approach. Torture is not the New York way, the United Nations
has declared this particular method of incarceration to be just that. Bravo New York City, let's
keep those who are incarcerated and those who work in our corrections system safe," said
Assembly Member Jeff Aubry.

"Today's announcement by Mayor de Blasio and Commissioner Ponte is a victory for the
crusade to bring best practices to criminal justice and incarceration," said Assembly Member
Luis Sepulveda, Chair of the Subcommittee on Transitional Services. "Certainly extreme
situations justify confinement in separate and highly restricted units, but in general, punitive
segregation is unnecessary, counterproductive and causes psychological and physical harm. |
am especially pleased that punitive segregation has ended in New York City for 16- and 17-
year-olds and that it will end for 18- to 21-year-olds this June. Finally, | commend the
administration for putting in place Enhanced Supervision Housing, a sensible and effective
alternative to punitive segregation for persistently violent inmates."

"Today's announcement marks major progress in the elimination of punitive segregation," said
Council Member Corey Johnson. "This administration is charting its way to a humane
criminal justice system. Mayor de Blasio and Commissioner Ponte should be commended for
their leadership in the reduction of use-of-force.

"These statistics show that our jail system is changing for the better," said Council Member
Daniel Dromm. "While there is still much work to be done, | am pleased that our city is moving
away from over-usage of punitive segregation and instead focusing on rehabilitation of the
incarcerated. | commend Mayor de Blasio and Commissioner Ponte for implementing a more
progressive plan for our jails. | will continue to advocate for the humane treatment of these
individuals in every way possible."

"The overuse of punitive segregation, especially prolonged segregation, can have devastating
effects on individuals and our institutions, and today's announcement reflects important
progress toward expanding therapeutic and disciplinary alternatives. The Board will monitor
continued progress of punitive segregation reform as well as the emergent alternative

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disciplinary system and safe and humane housing options. The Commissioner's ban on
punitive segregation for the youngest inmates was an essential first step, and ending punitive
segregation for 18-to-21 year olds will represent another important milestone for the
Department of Correction this June," said Martha King, Executive Director of the Board of
Correction.

"As today's announcement shows, it is possible to reduce the use of segregation as a
punishment for rule violations," said Nicholas Turner, President of the Vera Institute of
Justice. "We applaud Commissioner Ponte for his ongoing commitment to reforming this
practice, and we look forward to identifying additional opportunities for reduction through our
partnership with the NYC DOC."

"| applaud Commissioner Ponte for his leadership in reducing the use of punitive segregation
on Rikers Island. The expansion of rehabilitative and treatment alternatives to punitive
segregation is both humane and smart. Research on solitary confinement demonstrates that
prolonged isolation can have deleterious psychological effects. These reforms are also
consistent with emerging principles of best practice among corrections professionals across
the country. It is heartening to see New York City as a leader in these efforts," said Jeremy
Travis, President of the John Jay College of Criminal Justice of the City University of
New York.

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